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 1     Ricky Bagolie, Es~
       Alan T. Friedma~ ~sg.
 2     BAGOLIE FRI~DMAN LLC
       Five Comers Building
 3     660 Newark Avenue
       Jersey City, NJ 07306
 4     Telephone: (201) 656-8500
       Facsimile: (201) 656-4703
 5

 6                          .
       Joseph Antone1l1 ES (SBN 137039)
 7                        1
       Janelle Carne~ bS~. SaN 201570)
       LAW OFFICE OF OSEPH ANTONELLI
       1000 Lakes Drive) Suite 450
 8     West Covina, Cahfornia 91 790
       Telephone: (626) 917-6228
 9     Facsimile: (626) 917-7686
10     Attorneys for ETF Counsel In Dias v. AT&T
11
                           UNITED STATES DISTRICT COURT
12
                          FOR THE DISTRICT OF NEW JERSEY
13


                                                   Civil Action No. 07-05325 (JLL)
                                                   Hon. Judge Jose L. Linares
                                                   rPROPOSED] ORDER
                                                   GRANTING APPLICATION OF
                                                   G. JOSEPH ANTONELLI TO
                                                   APPEAR PRO HAC VICE AND
                                                   APPEAR AT FINAL APPROVAL
                                                   HEARING
                                                   Date: June 29, 2010
                                                   Time: 2:0Qp.m.
                                                   Dept.: MLK 5D




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                                             1
       [Proposed] Order Granting Application of G. Joseph Antonelli to Appear Pro
                   Hac Vice and to Appear at Final Approval Hearing
     Case 2:07-cv-05325-KM-ESK Document 537-3 Filed 06/24/10 Page 2 of 3 PageID: 15813



 1
                                      IPROPOSED] 0 R D E R
 2
                 THIS MATTER having been opened by the Court by Bagolie & Friedman,
 3

 4     attorneys associated with Law Office of Joseph Antonelli, ETF Counsel for Dias
 5
       in the matter ofDias v. AT&T,Los Angeles Superior Court Case No. BC316195
 6
 7     and counsel for defendants consenting hereto, and good cause appearing,

 8               IT IS THIS         day of June 2010,
 9
                 ORDERED that Giuseppe Joseph Antonelli of the Law Office of Joseph
10

11     Antonelli is hereby admitted to appear pro hac vice in association with Bagolie
12
       Friedman on behalf ofETF Plaintiffs, Denise Dias and Stacy Day, in the matter of
13
14     Dias, et al. v. AT&T WIRELESS SERVICES, INC., et al. in the above-captioned

15     matter pursuant to L.Civ.R.I01.1(c);
16
       and it is further
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18               ORDERED that all notices, pleadings, and other papers filed with the Court
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       shall be served upon Bagolie & Friedman, New Jersey Counsel for Dias plaintiffs
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21     and that Bagolie & Friedman shall enter all appearances and be responsible for

22     signed papers and for the conduct of the attorney admitted herewith; and it is
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       further
24
25               ORDERED that G. Joseph Antonelli shall make payment to the New Jersey
26
       Lawyers' Fund for Client Protection as provided by New Jersey Court Rule 1:28-
27

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                                                  2
       [Proposed] Order Granting Application of G. Joseph Antonelli to Appear Pro
                   Hac Vice and to Appear at Final Approval Hearing
     Case 2:07-cv-05325-KM-ESK Document 537-3 Filed 06/24/10 Page 3 of 3 PageID: 15814




 1     2(a), and shall make such payment for each year in which he continues to appear
 2
       pro hac vice in this matter; and it is further
 3

 4              ORDERED that G.Joseph Antonelli make a payment of$150.00 on
 5
       admission payable to the Clerk, USDC, pursuant to USDC - New Jersey, Local
 6
 7     Rule 101.1(c)(3); and it is further

 8              ORDERED that G. Joseph Antonelli may appear at the Final Approval
 9
       Hearing on behalf of the Dias ETF Plaintiffs currently set for hearing on June 29,
10

11     2010 at 2:00 p.m.
12

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14     Dated:        June __     , 2010

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                                                Judge of the Omted States DIstnct Court
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                                                   3
       [Proposed) Order Granting Application of G. Joseph Antonelli to Appear Pro
                   Hac Vice and to Appear at Final Approval Hearing
